      DAY
  DECLARATION
    EXHIBIT A




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        DENNI O. DAY, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury that

the following is true and correct:

        1.      VetPharm is, and has been since 2000, a contract research organization. It

provides a full menu of clinical trial support services to pharmaceutical companies seeking

approval for new veterinary medicines from the U.S. Food and Drug Administration (“FDA”). I,

at all times since 2000, have served as VetPharm’s president and chief executive officer. I have

personal knowledge of the matters set forth below.

        2.      On December 22, 2014, NewMarket Pharmaceuticals, LLC (“NewMarket”), a

Delaware limited liability company, retained VetPharm to manage a clinical trial (also called a

“study”) of an investigational new animal drug to prevent and treat gastric ulcers in horses. The

terms and conditions of that engagement were memorialized in a Master Services Agreement

(“MSA”) between the parties. The MSA contains a mandatory arbitration provision requiring

that any dispute between the parties be resolved through binding arbitration before the American

Arbitration Association (“AAA”). A copy of the MSA is attached as Exhibit “A,” redacted in

all respects other than as to its requirement that the parties arbitrate their disputes.

        3.      The FDA’s Center for Veterinary Medicine subsequently required that

NewMarket split that clinical trial into two separate trials, one to evaluate prevention of new

ulcers (the “Prevention Study”) and the other to evaluate treatment of existing ulcers (the

“Treatment Study”).

        4.      VetPharm agreed to perform both studies and the parties executed a Project

Addendum for each study. As the studies progressed, in accordance with the terms of the MSA,

VetPharm invoiced NewMarket for all study costs according to the NewMarket-approved

budgets and NewMarket-approved invoicing schedules for each study.




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       5.      Each invoice was detailed by line item and accompanied by complete supporting

documentation. Each invoice also was accompanied by a schedule, detailed by line item,

comparing actual study costs against budgeted costs so that NewMarket was fully informed, on a

monthly basis, regarding the current financial status of each study.

       6.      Almost from the beginning of each study, NewMarket failed to pay VetPharm’s

invoices within the 30-day payment terms stipulated in the MSA and the respective Project

Addendum for each study.

       7.      When VetPharm questioned NewMarket about its past-due invoices and when

they would be paid, NewMarket repeatedly assured VetPharm that payment would be made as

soon as NewMarket received its investor funding. As the delays in payment increased, and as

the amount outstanding grew, VetPharm began pressing harder for the reasons for the delay. I

came to suspect that NewMarket planned to pay as little as possible, as late as possible, in hopes

of wearing VetPharm down and receiving the deliverables for the completed studies for

substantially less than the agreed price.

       8.      By March 2016, NewMarket had failed to pay over $900,000 in VetPharm

invoices for completed work, and VetPharm no longer had resources to pay out-of-pocket for

expenses that NewMarket was contractually obligated to reimburse. At that point, VetPharm

stopped all work on both studies.

       9.      Patrick Niland, VetPharm’s Executive Vice President and Chief Financial Officer,

and I called Mark Ridall, president of NewMarket, at 4:00 p.m. on March 1, 2016 to discuss the

delinquent payments. During this call, Mr. Ridall volunteered that the investors included Kevin

(no last name and no company affiliation), Patterson, MWI, ABC Corporation, and Schein. I




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interpreted this investor information as Mr. Ridall’s attempt to assure VetPharm that

NewMarket’s investors were substantial companies and that funding would be received shortly.

       10.     I was not familiar with most of these companies, although I previously had seen

advertisements for Schein in veterinary publications.

       11.     On March 8, 2016, Bryan Ridall called me at 5:12 p.m. to discuss NewMarket’s

delay in paying VetPharm’s invoices. He said that he had spoken with Kevin Speltz, mentioned

Kevin’s affiliation with Clipper Distributing Company, and noted that Kevin was the president of

the investor group.

       12.     My understanding, based on my prior conversations with Mr. Ridall, was that

NewMarket’s other investors were veterinary distribution companies. Between March 8 and

March 15, 2016, I conducted Google and LinkedIn searches that identified two other veterinary

distribution companies that I thought could be NewMarket investors, as well as the name and

contact information of each company’s president.

       13.     During the morning of March 15, 2016, I called the following company

presidents: Kevin Speltz, Francis Dirksmeier, John Cleary, Steve Collis, Guy Flickinger, John

Adent, and George Henriques. Because I could not reach any of them, I left a voice mail

message for each one.

       14.     At or around 12:00 p.m. on March 15, 2016, I sent emails to six of the seven

company presidents explaining why I sought to contact them. I was not able to find the email

address for George Henriques.

       15.     I later learned from David Rock, NewMarket’s vice president of research and

development, that the investors had given NewMarket $4,000,000. This new information

convinced me that NewMarket had misrepresented its reasons for non-payment.




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       16.     My calls and emails eventually led to NewMarket wiring VetPharm $949,619.13

on May 17, 2016 in full payment of the then-outstanding invoices.

       17.     NewMarket then directed VetPharm to resume work on the Treatment Study but

not on the Prevention Study.

       18.     From June through November of 2016, VetPharm continued its work on the

Treatment Study, performing final visits at all of the study sites, preparing the draft study report,

and preparing for and conducting a case-review teleconference with the FDA (attended, in

VetPharm’s office, by David Rock and Bryan Ridall).

       19.     Despite VetPharm’s diligent resumption of work on the Treatment Study,

NewMarket resumed its pattern of late and non-payment, coupled with repeated assurances of

imminent payment pending new investor funding.

       20.     By February 2017, the outstanding balance of VetPharm’s unpaid invoices

exceeded $400,000. VetPharm again stopped all study work and, on March 8, 2017, commenced

an arbitration proceeding with AAA. Attached as Exhibit “B” is a copy of VetPharm’s initial

claim (without its attached exhibit).

       21.     NewMarket responded by commencing an action in the United States District

Court for the District of New Jersey. It sought to allege claims against VetPharm and me

personally. The claim against me related to my contacts with the investors described above. The

claim against VetPharm arose from VetPharm’s alleged breach of the MSA. NewMarket sought

preliminary relief in the nature of an order directing VetPharm to deliver to NewMarket the

study data it had collected during the Treatment Study.

       22.     The court denied NewMarket’s requested preliminary relief and accepted

VetPharm’s opposing request that NewMarket be compelled to arbitrate its claims. The court’s




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decision was filed under seal. Its resulting order so directing NewMarket is attached as

Exhibit “C”.

       23.     Attached hereto as Exhibit “D” is a copy of a summary invoice prepared for

VetPharm outlining the various charges and credits associated with the arbitration proceeding

commenced by VetPharm. Attached hereto as Exhibit “E” is a copy of a similar summary

invoice for NewMarket sent to VetPharm by the AAA. As is apparent from these documents,

NewMarket failed to pay invoices issued by the AAA, which totaled $49,970. The only credit

appearing on the invoice to NewMarket was the reversal of the “Final Fee” in the amount of

$7,000, which reversal also appears on VetPharm’s invoice. The AAA administrator for the

proceeding agreed to reverse the “Final Fee” for each party because the arbitration never

concluded.

       24.     According to these documents and communications with the AAA administrator,

NewMarket never filed a fee to institute any counterclaim against VetPharm.

       25.     Ultimately, the AAA informed VetPharm that the proceedings to enforce

VetPharm’s claims would require payment of the amounts charged to NewMarket, even if that

payment was sourced from VetPharm. Based on such information, VetPharm determined with

its counsel that it was unwilling to pay both sets of fees for the privilege of pursuing its claims

for payment. Accordingly, on October 24, 2017, counsel for VetPharm notified the AAA that

VetPharm was withdrawing its claim in the arbitration.

       26.     At no time has VetPharm ever agreed to waive its rights under either the MSA or

under the New Jersey District Court’s order to compel NewMarket to arbitrate any claims it has.

VetPharm has continued its position in the litigation before the New Jersey District Court that

NewMarket is confined to arbitration for resolution of its claims.




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                           MASTER SERVICES AGREEMENT


           This MASTER SERVICES AGREEMENT (the "Agreement"), by and between
   VetPharm, Inc., a New York corporation, with its principal executive office located at
   349 West Commercial Street, Suite 2200, East Rochester, New York 14445
   ("VetPharm") and NewMarket Pharmaceuticals, LLC, a Delaware company with its
   principal executive office at 621 Executive Drive, Princeton, New Jersey 08540
   ("NewMarket") (individually, a "Party" and, collectively, the "Parties") shall become
   effective on the last date entered below (the "Effective Date").

          WHEREAS,


                                                    and

          WHEREAS,
          ; and

          WHEREAS,




                                                               ; and

          WHEREAS,



          NOW, THEREFORE,



  1.




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                                AMERICAN                       INTERNATIONAL CENTRE                                                                                COMMERCIAL ARBITRATION RULES
                                ARBITRATION                    FOR DISPUTE RESOLUTION'
                                ASSOCIATION'                                                                                                                            DEMAND FOR ARBITRATION

                                              For Consumer or Employment cases, please visit www.adr.org for appropriate forms.

             You are hereby notified that a copy of our arbitration agreement and this demand are being filed with the American Arbitration Association with a
             request that it commence administration of the arbitration. The AAA will provide notice of your opportunity to file an answering statement.

             Name of Respondent NewMarket Pharmaceuticals, LLC                                                                    Name of Representative (if known): David W. Rock (Vice President)

             Address:                                                                                                             Name of Firm (if applicable):
                            4 Pitcairn Avenue Suite 4                                                                             Representative's Address: 34800 Woods Crossing Road

             City: Trenton                                               State: NJ                   Zip Code:       05628        City: California                                          State: MO                    Zip Code:         65018


             Phone No.:                                                  Fax No,:                                                 Phone No.: 9089381921                                     Fax No.:
                                                                    i_
             Email Address: dave@newmarketpharma.com                                                                              Email Address:

             The named claimant, a party to an arbitration agreement which provides for arbitration under the Commercial Arbitration Rules of the American
             Arbitration Association, hereby demands arbitration.
             Brief Description of the Dispute:

             vow.Inc seeks recovery of anneunts doe Per invoices duly Weal to Newhforket Pharmaceuticals, LIZ puma to the Muter Services Agreement. and Projca Addendum& in pica between the Wick for minims rendered by *Wham,. loo.


            Dollar Amount of Claim: $ 413,250.92                                                                                 Other Relief Sought
                                                                                                                                 FA Attorneys Fees FA Interest Wi Arbitration Costs
                                                                                                                                 • Punitive/ Exemplary • Other

            Amount enclosed: $ $4,000                                                                     In accordance with Fee Schedule:                      0 Flexible Fee Schedule rA Standard Fee Schedule
            Please describe the qualifications you seek for arbitrator(s) to be appointed to hear this dispute:


             VotPhamt, Inc. requests that the arbitrator have knowledge of phannsoeuthal product developrnent, alMical trial mmugament, clinical research organizations, FDA regulation& olactrenk data capture (EDO, and blostatisdad analysis.




            Hearing locale: Rochester, New York                                                                (check one)        WI Requested by Claimant • Locale provision included in the contract
            Estimated time needed for hearings overall:
                                                                                                                                Type of Business: Claimant Contract Research Organization
                                            hours or 2                                     days
                                                                                                                                                            Respondent Veterinary Pharmaceutical Products Provider

            Are any parties to this arbitration, or their controlling shareholder or parent company, from different countries than each other/ no

            Signature (maybe signed by a representative)(                                  littnir ailettatiVe cqt;                       3/8/17
            Name of Claimant: VetPharm, Inc.                                                                                    Name of Representative: Jennifer M. Schauerman, Esq.

            Address (to be used in connection with this case):                                                                  Name of Firm (if applicable): Woods Oviatt Gilman LLP

            349 West Commercial Street Suite 2200                                                                              Representative's Address: 700 Crossroads Building 2 State Street

            City: East Rochester                                     State: NY                    Zip Code: 14445              City     Rochester                                         State: NY                    Zip Code: 14614

            Phone No.: 5852491090                                    Fax No.: 5852491091                                       Phone No.: 5859872893                                      Fax No.: 5859872993

            Email Address: dday@vetpharm.com                                                                                   Email Address: jschauerman@woodsoviatt.com

         To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with the filing fee as provided for In the Rules, to:
         American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100 Voorhees, NJ 08043. At the same time, send the original
         Demand to the Respondent.

        Please visit our website at www.adr.org if you would like to file this case online. AAA Case Filing Services can be reached at 877-495-4185.
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